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GEORGE ANDREW BENAVIDES

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Email:

July 14, 2021
Attn: District Judge, Robert N. Scola

United States District Court

Southern District of Florida

Wilkie D. Ferguson, Jr. U.S. Courthouse
400 North Miami Avenue, 8" Floor
Miami, FL 33128

(305) 523-5100

Re: Federal Complaint: Donald J. Trump v. Twitter Inc
Case Number: 21CV22441
My Twitter Account: G.A BENAVIDESTX @benavidestx

PERMISSION TO ENTER COMPLAINT IN PENDING COURT CASE
Dear District Judge, Robert N. Scola

This letter is to inform you that my twitter account has been shut-down or blocked for protesting
or presenting my freedom of speech.

My twitter account is to strictly used to exploit and informed the United States of America and
its citizens on the illegal crimes committed against the American people in regards to the Havana
Syndrome, microwave energy weapons, satellite weapons and electronic harassment program.

I feel deprived of my civil rights and liberties and freedom of speech and demand that twitter
should be as the United States Constitution indicates. The Internet or the World Wide Web is the
highway and Twitter is used as a road to access public meeting or public quorum to protest to
inform “Federal Officials” of the crimes happening to Americans. Just as a public road used to
protest in front of a federal building, twitter has allowed the American people to protest outside
these offices of federal officials on Twitter.

I feel it’s safer to protest and speak on Twitter versus standing outside of a federal carrying
heavy signs walking up and down the sidewalks to get your point across.

Please allow the American citizens to protest or speak on issues affecting the American people.
After all it is your 1S" Amendment right. If your not going to allow all races and political
background to speak, then don’t open your business (Twitter).
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Federal Court Cases:
New York Times Co. v. Sullivan, 376 U.S 254, (1964)

376 U.S. 254 (1964), was a landmark decision of the U.S. Supreme Court ruling that
the freedom of speech protections in the First Amendment to the U.S. Constitution restrict the
ability of American public officials to sue for defamation. Specifically, it held that if a plaintiff in
a defamation lawsuit is a public official or person running for public office, not only must he or
she prove the normal elements of defamation—publication of a false defamatory statement to a
third party—he or she must also prove that the statement was made with "actual malice",
meaning that the defendant either knew the statement was false or recklessly disregarded

whether or not it was true.

Respectfully submitted,
